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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 TRUTEK CORP.,                             Case No. 2:21-cv-10312

                    Plaintiff,             Hon. Stephen J. Murphy, III

 v.

 BLUEWILLOW BIOLOGICS, INC.,
 et. al.

                  Defendants.


   PLAINTIFF TRUTEK CORPORATION’S MOTION FOR LEAVE TO
                  AMEND THE COMPLAINT



      Plaintiff Trutek, Corp., requests leave of Court to amend its Complaint

pursuant to Fed. R. Civ. P. 15(a)(2). Specifically, Trutek seeks to add one count of

willful patent infringement to its Complaint.

      Trutek has not delayed in seeking leave to amend its Complaint in this

matter. Trutek’s original Complaint put Defendants on notice that Trutek intended

to prove that Defendant BlueWillow Biologics, Inc., infringed the ‘802 patent.

      Trutek is justified in waiting until now to seek to amend the Complaint

because Trutek did not become aware of the willful patent infringement claim until

Trutek reviewed financial records produced by Defendant BlueWillow Biologics,
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Inc. Defendant BlueWillow Biologics, Inc., waited until after the close of discovery

to submit its financial records to Trutek.

      Even if Trutek is untimely in seeking leave to amend its Complaint, delay by

itself is not a sufficient reason to deny leave to amend the Complaint. Defendant

would not suffer substantial prejudice if the Court permitted Trutek to amend its

Complaint. Defendant BlueWillow’s financial records demonstrate that BlueWillow

had actual knowledge that it continued to market, distribute, and sell the Nanobio

Product after it was served with Trutek’s original Complaint asserting patent

infringement claims. BlueWillow produced the financial records during the

mediation. The mediation occurred after the close of discovery.

      Trutek’s amendment would not be subject to dismissal under Fed. R. Civ. P.

12(b)(6).

      On September 22, 2022, counsel for Plaintiff and Defendant’s counsel met

and conferred on the present motion in accordance with E.D. Mich L. R. 7.1.

      WHEREFORE Plaintiff Trutek, Corp., respectfully requests leave to amend

the Complaint.



Dated: October 25, 2022                 Respectfully submitted,

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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 TRUTEK CORP.,                         Case No. 2:21-cv-10312

                  Plaintiff,           Hon. Stephen J. Murphy, III

 v.

 BLUEWILLOW BIOLOGICS, INC.,
 et. al.

                Defendants.


      PLAINTIFF TRUTEK CORPORATION’S BRIEF IN SUPPORT OF
          MOTION FOR LEAVE TO AMEND THE COMPLAINT
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      Plaintiff Trutek, Corp., requests leave of Court to amend its Complaint

pursuant to Fed. R. Civ. P. 15(a)(2). Specifically, Trutek seeks to add one count of

willful patent infringement to its Complaint.

      A proposed Amended Complaint is attached to this motion in accord with

Local Rule 15.1. Exhibit A. A red-lined version of the proposed Amended

Complaint is attached to this motion. Exhibit B.

                              I.     BACKGROUND

      A Rule 26(f) discovery plan for the present action was filed and entered on

October 28, 2021. A scheduling conference and a scheduling order were filed and

entered on November 11, 2021. The parties were ordered to filed a joint status report

no later than June 21, 2022. Based on the parties’ joint status report, the court set a

claim construction schedule on June 22, 2022. Defendant filed a motion to exclude

damages-related theories or evidence on September 26, 2022. On September 27,

2022, Plaintiff Trutek filed a responsive brief on claim construction issues for

Markman hearing. On October 5, 2022, Plaintiff Trutek filed its motion for

extensions of time to file response to BlueWillow’s motion to exclude damages-

Related theories or evidence. On October, 6, 2022, the Court granted Trutek’s

motion for extension of time to file a response as to BlueWillow’s motion in limine

to exclude damages-related theories or evidence.




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                                II.    ARGUMENT

      Rule 15(a) of the Federal Rules of Civil Procedure permits a party to amend

the Complaint after a responsive pleading has been filed only by leave of court, but

instructs that “the court should freely give leave when justice so requires. Fed. R.

Civ. P. 15(a)(2). “If the underlying facts or circumstances relied upon by a plaintiff

may be a proper subject of relief, he ought to be afforded an opportunity to test his

claim on the merits.” Foman v. Davis, 371 U.S. 178 (1962). The determination of a

motion to amend “is committed to the district court’s sound discretion.” Moore v.

City of Paducah, 790 F.2d 557, 559 (6th Cir. 1986).

      Trutek seeks leave to amend its Complaint to add one count of willful patent

infringement against Defendant BlueWillow Biologics, Inc. The reason for this

request is that BlueWillow Biologics, Inc., did not produce financial records until

after the close of discovery. Upon reviewing the financial records of BlueWillow

Biologics, Inc., Trutek discovered that BlueWillow Biologics, Inc., continued to

market, distribute, and sell Nanobio Product months after Trutek served its original

Complaint in the present action.

      The Sixth Circuit has held that delay by itself is ordinarily an insufficient basis

to deny leave to amend a Complaint. Morse v. McWhorter, 290 F.3d 795, 800 (6th

Cir. 2002). “When there is no demonstrable prejudice, even amendments made on

the eve of trial are permissible.” United States v. Wood, 877 F.2d 453, 456-57 (6th


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Cir. 1989). The party opposing leave to amend must also demonstrate at least some

significant showing of prejudice as a result of permitting the amendment. Duggins

v. Steak ‘n Shake, Inc., 195 F.3d 828, 834 (6th Cir. 1999). Courts in the Sixth Circuit,

when determining prejudice, should consider “whether the assertion of the new

claim…would require the opponent to expend significant additional resources to

conduct discovery and prepare for trial.” Phelps v. McClellan, 30 F.3d 658, 662-63

(6th Cir. 1994). Defendant BlueWillow cannot demonstrate substantial prejudice

resulting from the proposed amendment.

      BlueWillow delayed producing its financial records, and only after the close

of discovery did Trutek have the opportunity to scrutinize details regarding the sales

of the Nanobio product. Trutek was therefore not put on notice of a claim of willful

patent infringement until after a satisfactory examination of the financial records

was complete. Upon learning that BlueWillow continued to market, distribute, and

sell the Nanobio product after Trutek served its original Complaint claiming patent

infringement, Trutek seeks leave to amend its Complaint. Such amendment merely

conforms the Complaint to the evidence. Furthermore, no additional expert

testimony is required to assist the trier of fact. The amendment only affects the

statutory calculation of damages.




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                              III.   CONCLUSION

       Trutek’s purpose in seeking leave to amend its Complaint is to assert one

 count of willful patent infringement against Defendant BlueWillow Biologics, Inc.

 Defendant BlueWillow Biologics, Inc., would not suffer prejudice to its defense of

 the case. The Court should therefore grant leave to amend the Complaint and to file

 the proposed Amended Complaint.



 Dated: October 25, 2022               Respectfully submitted,

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 TRUTEK CORP.,                            Case No. 2:21-cv-10312

                        Plaintiff,        Hon. Stephen J. Murphy, III

    v.

 BLUEWILLOW BIOLOGICS,
 INC., et. al.

                   Defendants.



                        CERTIFICATE OF SERVICE


         I certify that on October 25, 2022, I served the foregoing Plaintiff’s Trutek

 Corporation’s Motion for Leave to Amend the Complaint and Brief in Support upon

 all parties herein by filing copies of same using the ECF System.




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